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UNlTED sTATEs DISTRICT coURT t 1 -
WESTERN DISTRICT oF TENNESSEE U" M? 22 PM w 26

EASTERN DIVISION

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C ii':~i"\i ~:‘J' ' 1

PAUL PRICE, ) Wn,` Q;: iN, williams
)
Plaintiff, )
)

vs. ) Civil Action No.: 1:03-1228- B/P

)
CORRECTIONS CORPORATION )
OF AMERICA, et al., )
)
Defendants. )

 

ORDER

 

Bef`ore the Court is a Joint Motiorl to Extend Motion to Compel Deadline. The parties
are in agreement that due to the scheduled Mediation in this matter, additional time Would be
useful to attempt to resolve certain issues that have arisen as to Det`endants’ written discovery,
and, therefore, the Court finds that the Mction is well taken. Therefore, it is ORDERED that the

deadline to file a Motion to Compel is extended up to and including June 10, 2005.

M

JUDGE
DATED; L{/lz /U

IT IS SO ORDERED.

 

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CERTIH§ATE OF SERVICE

 

I certify that a copy of the foregoing has been served by U.S. mail upon Wayne A.
Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126, Knoxville, TN
37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300, Columbia, SC 29201 on

Apnl 14, 2005.

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By tidal/thailth

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Attomeys for Defendants

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 1:03-CV-01228 Was distributed by faX, mail, or direct printing on
April 28, 2005 to the parties listed.

ESSEE

 

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Honorable .1. Breen
US DISTRICT COURT

